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 4   Attorneys for
     ELIZABETH CARRION
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 6
 7                            IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
11   UNITED STATES OF AMERICA,           )                 No. CR. S-08-318 LKK
                                         )
12                     Plaintiff,        )
                                         )                 STIPULATION AND ORDER
13                                       )                 CONTINUING THE DATE FOR
           v.                            )                 SENTENCING FROM APRIL 17, 2012
14                                       )                 TO JUNE 19, 2012
     ELIZABETH CARRION,                  )
15                                       )
                       Defendant.        )
16   ____________________________________)
17          The defendant, Elizabeth Carrion, and the United States, by and through their respective
18   attorneys, hereby stipulate that the Court should order that the date for sentencing currently set for
19   April 17, 2012 be continued to June 19, 2012.
20          Ms. Carrion is currently being treated for breast cancer with radiation and has recently had
21   radical breast surgery. She will have reconstructive surgery in July of 2012 and follow-up surgery
22   for further reconstructive procedures in the three months following July of 2012. The defense has
23   provided the government with medical records and Doctors’ letters confirming the diagnosis and
24   treatment. The defense requires a continuance in order to go over the PSR with Ms. Carrion and
25   respond to it and to determine Ms. Carrion’s need for future treatment prior to responding to the
26   PSR.
27   ///
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 1          The informal objections to the Pre-Sentence Report shall be due May 8, 2012. The final Pre-
 2   Sentence Report shall be filed with Court no later than May 22, 2012. The Motion to Correct the
 3   Pre-Sentence Report shall be filed no later than June 5, 2012.
 4
 5   DATED: March 19, 2012                          /S/ Bruce Locke
                                                  BRUCE LOCKE
 6                                                Attorney for Elizabeth Carrion
 7
     DATED: March 19, 2012                           /S/ Bruce Locke
 8                                                For RUSSELL CARLBERG
                                                  Assistant United States Attorney
 9
10
11          IT IS SO ORDERED.
12
     DATED: March 20, 2012                        ________________________________
13                                                LAWRENCE K. KARLTON
                                                  SENIOR JUDGE
14                                                UNITED STATES DISTRICT COURT
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